           Case 1:18-cv-01034-LJO-SAB Document 23 Filed 01/03/19 Page 1 of 2


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 8
                          UNITED STATES DISTRICT COURT
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                                   EASTERN DISTRICT OF CALIFORNIA
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11   J.M., et al.,                                      Case No. 1:18-cv-01034-LJO-SAB

12                   Plaintiffs,                        ORDER STRIKING PLAINTIFFS’ FIRST
                                                        AMENDED COMPLAINT
13           v.
                                                        (ECF No. 22)
14   COUNTY OF STANISLAUS, et al.,

15                   Defendants.

16

17          On August 1, 2018, Plaintiffs filed a complaint in this matter against the County of

18 Stanislaus (Defendant). (ECF No. 1.) After the district judge denied Defendant’s motion to

19 dismiss, an answer was filed on November 20, 2018. (ECF No. 17.) On December 21, 2018, the
20 Court held the scheduling conference, and the scheduling order issued on this same date. (ECF

21 Nos. 20, 21.) On January 2, 2019, Plaintiffs filed a first amended complaint. (ECF No. 22.)

22          The scheduling order states that “[a]ny motions or stipulations requesting leave to amend

23 the pleadings must be filed no later than March 22, 2019. The parties are advised that filing

24 motions and/or stipulations requesting leave to amend the pleading does not reflect on the

25 propriety of the amendment or imply good cause to modify the existing schedule, if necessary.”

26 (ECF No. 21 at 2.)
27          Plaintiffs did not file a motion or stipulation requesting leave to amend their complaint.

28 Since Plaintiffs are not entitled to amend their complaint as a matter of course, see Fed. R. Civ.


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            Case 1:18-cv-01034-LJO-SAB Document 23 Filed 01/03/19 Page 2 of 2


 1 P. 15(a)(1), they are required to file a motion or stipulation requesting leave to amend their

 2 complaint, see Fed. R. Civ. P. 15(a)(2). As Plaintiffs have not been granted leave to file an

 3 amended complaint at this time, the first amended complaint will be stricken from the record.

 4          Accordingly, IT IS HEREBY ORDERED that Plaintiffs’ first amended complaint (ECF

 5 No. 22) is stricken from the record.

 6
     IT IS SO ORDERED.
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 8 Dated:     January 3, 2019
                                                       UNITED STATES MAGISTRATE JUDGE
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